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Defendant Jarvis’ Reply Motion to Dismiss
Exhibit B
Professor Uphoifs Affidavit
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
NITED STATES OF AMERICA,

Plaintiff,

Mo: 05-CR- 1849 (FH)

DANA JARVIS,
Defendant,

SEALED DOCUMENT

AFFIDAVIT OF PROFESSOR RODNEY UPHOFF, ESQ. IN SUPPORT OF
DEFENDANT DANA JARVIS’ REPLY TO THE UNITED STATES’ RESPONSE
TORIS
MOTION TO DISMISS FOR IRREPARABLE STRUCTURAL ERROR &

STATE OF FLORIDA )

COUNTY OF ALACHUA }

1. My name is Rodney Uphoff, and I am over the age of eighteen and competent to
attest to the matters set forth in this affidavit. ] am an attorney who has been admitted to
ptactice Jaw in the states of Wisconsin, Oklahoma, and Missouri. Currendy, only my
Missourt law license is active.

2. My resume is attached to this affidavit, and it accutately summarizes my

educational background, legal experience, teaching, publication, and professional service.

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My address is the University of Missouri — Cohumbia School of Law, 213 Hulston Hall,
Columbia, Missout, 65211; my telephone number is (573) 882-3035,

3, [received my J.D. from the University of Wisconsin School of Lew in 1976. Most
of my early legal career focuscd on indigent criminal defense. In 1978 ] was employed asa
trial atcomey for the Legal Aid Society of Mikwaukee, Wisconsin, handling both felonies
atid misdemeanor cases on behalf of indigent clients. I then became an attorney, and later
chief staff attotney with the Wisconsin State Public Defender’s Office. In 1984 T took a
position as at associate clinical professor and director of the University of Wisconsin Law
School’s Legal Defense Project, «After a brief petiod in private practice in 1988, T returned
to clinical teaching as an agsociate protessor (and later professor) and associate director
fand later dizector) of clinical legal education at the University of Oklahoma College of
Law. In 2001 I became the Elwood Thomas Missouri Endowed Professor of Law at the
University of Missouri, Columbia. While I retain that chair, I am currently a visiting
professor at the University of Plotida Levin College of Law.

4. In ty vations positions as a public defendet in Wisconsin I represented numerous
indigent detendants charged with felonies and misdemeanots. ] personally handled overa
thousand criminal cases during that petiod of time. I also supervised or observed
countless other trials. In my position as chief staff attorney, I supervised over 40 trial
lawyets, trained all the new staff attomeys, and developed training programs for the entire

stafé J also consulted with ali of the attorneys in the office regarding ethical matters, trial

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strategies, lepal issues, and prettial strategies.

5. In my clinical teaching at the Univetsity of Wisconsin and at the University of
Oklahoma, my primary responsibility was to teach cominal litigation stills, ethics, and trial
advocacy to law students, who worked under my supervision and the supervision of other
clinical instructots to provide representation to indigent defendants. In addition to
ditecting clinical progtama at the University of Wisconsin Law School and the University
of Oklahoma College of Law, [ served as the Associate Dean for Academic Affairs at the
University of Missousi- Columbia. I have tanght courses in legal ethics and professional
responsibility since 1984. I have also taught criminal procedure, tral techniques and
criminal litigation skills. Much of my scholarship has focused on lawyering and the ethical
demands that confront lawyers especially in the criminal area.

6& In 1995, ] was appointed by Oklahoma Governor Frank Keating to the Oklahoma
Indigent Defense System [“OIDS”] Boatd. I also have been Vice Chair of the American
Bar Association’s Defense Services, At the request of the ABA Defense Services
Committee, I edited ¢, hook published by the ABA enutled Hetteal Problems Pacing the
Criminal Definse Laayer. That book is cited in the leading hornbooks on legal ethics and
the law of lawyering and is being translated into Japanese. This past March I was invited
to speak at an international ethics symposium in Japan and to speak to the Japanese Bar
Association about the Oklahoma City bombing case. As my resume reflects, I have been a

apeaker or presenter at numetous conferences and workshops around the country on

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ctiminal practice, trial advocacy and a vatiety of ethical topics, especially involving the
ethical duties of defetise lawyers and prosecutors. As a result of my scholarship, teaching
and speaking of ethical issues, I am contacted segularly by lawyets to consult about ethical
issues. I have been qualified to testify as an expert ott ethical issues in state court in
Wisconsin, Kansas, and in federal court in Oklahoma.

7. While at the University of Wisconsin, I was appointed to the local bat committee
that investigated bat complaints and made cecommendations regarding tesolution of those
complaints to the Wisconsin bar disciplinary authorities. I also was retained twice by the
Wisconsin Judicial Council to conduct judicial investigations on behalf of the Council,
8. To the summer of 1999, while I was on the faculty at the University of Oklahoma
College of Law, I was apptoacshed by Ponca City, Oklahoma attomey Brian Hermanson
about joining the defense team in the state criminal prosecution of Terry Nichols, who
was chatged as a co-defendant in the bombing of the fedetal building in Oklahoma City,
Oklahoma. Mr, Nichols had already been prosecuted in federal court for these same
offenses in a capital murder prosecution, and had received a life sentence. After the
federal prosecution, the State of Oklahoma elected to prosecute Mr. Nichols in Oklahoma
state court and seek the death penalty. When the county public defender’s office
conflicted out of the case, private attorreys were called upon to undertake Mr. Nichols’
tepresentation. Mr, Hermanson agteed to represent Mr. Nichols as Jead counsel and,

along with Creekmore Wallace, I -was appointed as one of three original team members,

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Barbara Bergman joitied the team shortly thereafter. Professor Retgman and I did such
of the briefing and motion work on the case. I was the team member primarily
responsible for dealing with a host of ethical issues that we faced duttng the case. I
worked part time on the case until it concluded in the fall of 2004.

9, On October 24, 2007 I was contacted by Jody Neal-Post, co-counsel with Joe M.
Romero, Jt., the attorneys for defendant Dana Jatvis, and asked if T was willing to serve as
an expert with respect to various ethical issues thar had atisen in the case, I agreed to do
aa.

10. On October 30, 2007, Docket entry 1100, Judes Judith Hetreta appointed mc to
“evaluate and report on the appropriaic ethical patameters raised by the United States’
expressed intention to call a co-Defendant’s counsel as an adverse witness against the
defendant’s Motion to Dismiss and the associated ethical landscape of the present
procedural posture of this cage.”

tl. I have relied on the matetials listed in Exhibit A attached to this affidavit in
preparation of this affidavit. In addition, I reviewed a transcript of proceectings held in
this case on October 11, 2007, Defendant Dana Jarvis’ Motion to Seal Proceedings
Related to Attorney-Client Issue Regarding Robert Gorence filed on October 16, 1007;
Motion to Determine Whether an Alleged Conflict of Interest Exists with Robert J,
Gorence’s Reptesentation of Dennis Wilson filed Oct. 26, 2007; an Entry of Appearance

of Chiff McIntyre filed on October 14, 2005; the United States’ Motion for Rule 44(c}

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Heating and Memorandum io. Suppor dated October 17, 2005 and Clerk Minutes dated
October 27, 2005. Finally, 1 reviewed the affidavit of Dana Jarvis dated November 1,
2007, to be filed under seal with his Reply to his Motion to Dismiss and a letter to Ms.
Neal - Post dated Nav. 1, 2007 from U.S, Attomey Larry Gomez.

12. My opinions in this matter ate based upon my review of these materials and my
review of the Restatement (Third) of the Law of Lawyaring (2000) [hereafter Restatement Third),
of the ABA’s Annotated Model Rules of Professional Conduct (Sth ed 2003) [betcatter
Annotated Model Rules], of Hazard & W. Hodes, The Law of Lawyenng (2d ed, 1990){
hereafter Lew of Lawyering], and casclaw related to the ethical issues involved in this case.
Moreover, my opinions teflect my professional experiences including my teaching and
writing in the area of professional responsibilites and legal ethics.

13, As the Rertatement Third 5 14 indicates, a client-lawyer relationship atises when “a
person manifests to 4 lawyer the person’s intent that the lawyer provide legal services for
the person” and “the lawyer manifests to the person consent to do so.” As comment e to
§ 14 observes, “a lawyet may explicitly agree to represent the client or may indicate
consent by action, for example by performing services requested by the client.” An
attoruey-client relationship is created, therefore, when an attorney and client discuss that
lawyer taking on the representation of the client, exchange information televant to that
tepresentation, and then the lawyer takes steps to achieve that end of assutming

representation of the client. Soa, ng, f9 ref. Anita Ryan, 760 A.2d 375 (D.C. Ce App.

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1995).

14, In my opinion, Robert Gorence formed an attorney-client relationship when he
met with Dana Jarvis in December 2005, discussed Jarvis’ desite to retain Gorence to
tepresent Jacvis in this matter, discussed vatious aspects of the case, and then Gotence
took steps to become Jarvis’ counsel of record. See, e9., Tasbosrine Comercia International
SA. 1, Selomsky, 2007 WS. Dist. Lexis 14905 (8.D. Fla, Filed March 4, 2007} (attorney-
client relationship with attendant duties of loyalty and confidentiality created despite the
fact prior representation was limited in time and scope), As the Jatvis affidavit indicates,
Gorence and Jarvis discussed the charges Jarvis faced and the liens lodged against his
assets. Given the nature of the charges and the existence of the liens that encumbered
Jatvis’ property, it is inconceivable chat a competent, experienced lawyer would not have
gained access to considerable information about Jarvis’ fnatclal situation and its
relationship to the chatges Jatvis faced before taking on the representation of a case of
this magnitude, Indeed, to set a teazonable fee in this matter and to ensure he would be
paid with money not subject to forfeiture, Gorence was professionally obligated to have a
thorough, honest discuasion with his prospective clicnt regarding his financial situation
and Jarvis’ ability to pay Gotence with money that was not illegally earned.

15. New Mexico Rules of Professional Conduct, Rule 16-106 is virtually identical to
ABA Model Rule of Professtonal Conduct Rule 1.6. The range of information that a

lawyer is prohibited from revealing and must jealously safeguard by Rule 1.6 is “extremely
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broad, covering information received from the clent or other sources, and even
information not in itself protected burt thar may lead to the discovery of protected
infosmation by a thitd party.” Annotated Model Rules at p88. Absent one of the narrow
exceptions spelled out in Rule 1.6, lawyers generally should “operate on the presumption
that. essentially no unfavotable client information may be disclosed without client
consent.” Law of Lanyering § 9.7. As Restatement Third § 59(b) indicaves:

[A] client’s approach to a lawyer for legal assistance implies

that the cent trusts the lawyer to advance and protect the

interests of the client. The resulting duty of loyalty is the

predicate of the duty of confidentiality.
Indeed, the protection of confidential client information is “a fundamental principle” of
the attomey-client telationship because tt promotes the trust and open communication
that is essential to effective teptesentation. See Model Rule 1.6. cmt [2]. Not only is a
lawyer obligated not to use of disclose client information except in very limited
circumstances, the lawyer must also take positive steps to safeguard confidential client
information and the cHent’s intcrests. Restatesent Third § 60.
16. Unquestionably, Gorence gained access to infosmation protected by New Mexico
Rules of Professional Conduct Rule 16-106 duting his discussiona with Jatvis. Sse Ey she
Matter of Lechtenberg, 117 N.M. 325, 871 P.2d 981 (1994). Despite Gorence’s attempt in

his notion of Oct. 26, 2007 to characterize the exchange of information with Jatwis as

litnited, his actions speak louder than the words in his motion.
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17. On January 9, 2006 Gotence filed a motion on Jarvis’ behalf seeking to secure the
release of assets that would permit Jarvis to retain Garence. The filing of this motion, his
effort to Bile a limited entry of appearance at the hearing on January 19, 2006 and his
statements at that heating demonstrate unequivocally that Gorence and Jatvis had taken
the necessary steps to fomm an attomey-chent relationship. Moreover, Gorence’s
cotmments at the January 19, 2006 hearing and assertions in lis Motion to release Assets, Ff
3 demonstrate an awareness of details about Jatvis and his property chat he must have
gained from his cent The fact that the Court did not permit Gorence to file his entry
atid ultituatcly refused to release funds that would have permitted Jarvis to hire Gorence
does not nullify the creation of an attorney-client relationship between Gorence & Jarvis,
See Cole » Ruidoso Mua. School, 43 F. 3d 1373 (10" cir. 1994). Rather, as Jarvis’ affidavit
indicates, after the hearing on Jan, 19" 2006, Jarvis instiucted Joe Romexo to attempt to
secure the release of asseta that would enable Jarvis to proceed with this plan to hire
Gorence.

18 Jé aa of January 19, 2006, Gotence wished to terminate his professional
relationship with Jarvis, he should have clearly done so. Absent clear comtounication by
counsel, a client is likely to believe that the lawyer with whom he has becn dealing is stili
his lawyes, «As the oft-cited case of Togstad 2. Wesedy, Ota, Miller cv Keefe, 291 NW. 2d 689
(Minn. 1980) demonstrates, a lawyer has a duty to clearly apprise 4 client that he will not

act as the client’s attorney, Any ambiguity in the creation or termination of an attorney-

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client telationship will be resolved against the attorney because he or she as a professional
is in a better position to clarify the situation. Law of Lanyering § 2.5. Thus, it was
reasonable for jarvis to assume that Gorence was still prepated to take overt as his counsel
should funda be released to him. I have not seen any document that shows that Gorence
communicated to his client he was terminating their zelationship up untl the point
Gorence retumed his file to Jarvis. Up until that point, then, even if Gorence viewed his
relationship with Jarvis as over, Gorence still had an obligation to clearly communicate to
Jarvis that he was no longer interested in acting on Jarvis’ behalt,

1% Unquestionably, even after an attorney-client relationship is terminated, a lawyer
owes fiduciary duiies to his fotmer client including the duty to protect all confidential
infoemation gained during their relationship. Law of Lawyering §9.7; Danmron n Hergog, 67 F.
3d 211 Cit, 1995); Perey » Kine el Carrigan, 822 5.W. 2d 261 (lex. App. 1991). A
lawyet is simply not free to volunteer any information related to the representation of a
client except as permitted by the exceptions spelled out in Rule 1.6. Law of Lawyering § 9.7.
Additionally, the fact that certain communications are ultimately deemed by a coutt to be
non-privileged or the fact that the information the lawyet is disclosing is generally known
does not afford an attorney the right to voluntanly reveal such communications. fn the
Matter of Baar, 61 P. 3d 641 (Xan, 2003). Rather, the cthical miles and norms of the
profession are pertectly clear: a lawyer is to hold those communications confidential

unless and until compelled to reveal them. Law of Lawyering § 9.2 and 9.7. In fact, lawyers

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ate generally obligated to take proper steps, including moving to quash subpoenas and
filing appeals if watranted, to ptesetve a client’s confidences. See ABA Formal Op. 94-
385. Furthermore, as Restatement Third § 33 spells out, not only is a lawyer obligated to
provide notice to the client and protect his confidences, the lawyer is to take steps fo the
extent reasonably practicable to protect the clients interest, including avoiding conflicts of
interest atid not abusing the client’s trust.

20. Goxence’s letter of October 11, 2007 to Jody Neal-Post suggests thar Gorence
roistekently cquates his duty under Rule 1.6 with the attorney-clienc ptivilege. ‘The
attotney-client privilege is an evidence rule that covers only a subset of the
communtications between an attomey and client. Rule 1.6, of course, applies to all
information gained during the course of a lawycz’s professional representation and the
lawyet’s dutty to safeguatd a client’s confidences extends to commnutucations between a
lawyer and a prospective client. See In the Matter of Lichtenberg, 117 NM. at 327, 871 P.2d
at 983 (“Mernbets of the public who shate their confidences and secrets with an attomey
ate entitled to have those confidences and secrets held inviolate exceptin certain unusual
citcumstancea. In otdet for an attorney to develop all facts necessary to effective
representation, the chent or potential client must be encoutaged to communicate fully and
candidly with the attomney even a3 to embarrassing or legally damaging subject matter.”}:
Restatement Third § 15,

21. Tn my opinion, having formed an attorney-client relationship, albeit a relatively

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brief one, Gotence owed certain fiduciary duties to Jarvis, no matter how his professional
telationship with Jarvis is characterized. See, e.g, Tambourine Comercio International SA. u.
Sofousky, 2007 U.S. Dist. Lexis 14905 (S.D. Fla, Filed March 4, 2007); Secled Party ». Sealed
Party, of af 2006 U8. Dist. LEXIS 28392 (S.D. Tex. 2006); Neder ». Borentan, 665 F.2d 738
(5" Cir. 1982). This fiduciaty duty is “of the very highest character, and binds the attomey
to most conscientious fdelity- ubertima fides.” American Airknes ». Sheppard, Muiin, Baebter
gy Hanepion, 96 Cal. App. 4° 1017, 1044 (Cal. App. 2 Dist, 2002), Gorence had an
absolute duty to Jatvis not to reveal any information that Jatvis disclosed to him or that
Gotence gained during his professional relationship with Jarvis. Moteover, Gorence had a
duty of loyalty to Jarvis that demanded that he scrupulously avoided aligning himself with,
anew client with an interest advetse to his former client. American Airlines, 96 Cal. App. 4"
at 1044: Ressstement Third § 132; ABA Standatds for Criminal Justice Standatd 43.5,
commentary. 50 too he had a duty to avoid taking action that would harm Jatvis, Pervez,
822 SW. 2d 261.

22, Accordingly, Gorence never should have sought to represent a co-defendant in the
satae matter, Rael». Béatr, 2007-NMSC-006, 153 P.2d 657, 2007 N.M Lexis 60;
Restatement Third § 132. Certainly it would have been ethically improper and a breach of his
duty of Joyalry to Jatvis for Gorence to have solicited Dennis Wilson and offered his
services. If, however, Wilson approached Gortence and requested his services, Gorence

should have declined to have had any discussions with Wilson unless he first talked to

ke
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Jarvis and secured his informed consent. If alter securing that consent, Gotence was
satisfied that he ethically could represent Wilson in the matter while still protecting Jarvis’
confidentiality then, and only then, could ke talk to Wilson to determine if he could, in
fact, ptovide him conflict free representation. It would then have been necessary to
securc Wilson’s consent as well.

23, Given Gorence’s professional relationship with Jatvis and the natute of the
indictment in this case, Gorence could not have reasonably believed he would have been
able to assume representation of Wilson without any discussion with Jarvis. Even if
Gaotence ettoncously considered Jarvis only a prospective client, he did not proceed
ethically appropriately, Law of Lazyjering § 15.9, That is, he should not have sought to take
on the defense of a co-defendant in the same matter without secuting a waiver from.
Jarvis, According to Jarvis’ affidavit, Gorence sought mo such waiver from Jatvis.
Moreover, Gotence should have resclved any doubts as to whethet Jarvis was a client or
only a prospective client in favor of Jatvis or, at the very least, sought a judicial
determination before attempting to represent Wilson. Just as itis improper to attempt to
convert a current client into a former client to facilitate the representation of a new client
at the expense of the other client, it ig wholly inconsistent with a lawyer’s professional
responsibilities to attempt to convert a former client into a prospective client to enable
the lawyer to assume the teptesentation of a party with adverse interests, See, a2, Aeserican

Airlines v. Sheppard, Mudlin, Richter & Hampton, 96 Cal App. 4" at 1044; In re Gonzake, 773

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A.2d 1026 (D.C. 2001). Tn the end, no matter if Jarvis was 2 former client or a prospective

client, Gotence was ethically barted from representing Wilson absent Jarvis’ consent. Law
of Lawyerng § 13.9.

24, As Jarvis affidavit states, however, Gorence did not discuss bis proposed

sepresentation with Wilson or secure Jatvis’ consent. Rather, Gorence knowingly took on

the representation of a co-defendant and in so doing, acted conttaty to interests of his

client, Jarvis. See Restatement Third § 16 (3), § 33, and § 132. Gorence breached his duty of
loyalty to Jarvis by representing a party with adverse interests to Jarvis and imperiling
Jarvis’ confidences even if Gorence has not yet actually revealed confidential information

tohis new client, Amenican Airines 9. Sheppard, Mullin, Richter & Hampton, 96 Cal. App. 4"

at 1052-45; Tambowriee Comenao Intrraational S_A, v. Soiowsey, 2007 U.S. Dist. Lexis 14905.

25.  Itis unclear what if any discussions Gorence had with his new client Wilson about

Jarvis at the time he entered into a telationship with Wilson. Gorence would not been

ethically allowed to reveal any information commuricated to him by Jarvis regardless of
whether Jarvis was a former or a prospective client. Ser Rettstravent Third § 153 In re Marter of
Ldchtenberg, 117 NUM. at 327, 871 F.2d 0t983. Because it would have been improper for

Gorence to tale to Wilson about anything leatned from Jarvis without Jarvis’ consent, it

would have been ethically ttupossible to have secured informed consent from Wilson. Jn

the Matter of Bryan, 61 P. 3d 641 (Kan. 2003).

26,  Sitnilarly, itis unclear what discussions Gorence had with any of the prosecutors in

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this case about Jarvis. Yct, the prosecutors’ exptess intent to call Gorence coupled with
the statements contained in Gomez’ letter of Nov. 1, 2007 strongly suggest that such
conversations have taken place. Itis inexplicable why the prosecutoxs in this case did not
file a Rule 44{c) motion when Gorence entered an appeatance on behalf of Wilson given,
Crorence’s attcrnpt several months earlier to appeat on bebalf of Jarvis. In light of the
Rule 44{¢) motion that prosecutots filed ta prevent Clif MeIntyre to represent Jarvia, itis
clear that the prosecutors wete well aware of their responsibility to take appropriate steps
to ensure that trials are not infected by lawyers with conflicting intetests. Apparently, no
such motion was filed becausc Gorence some how persuaded them that Jarvis was not
then and never had been his client. If, indeed, Gonence volintarily tevealed any
information about Jatvis to the prosecutors in this case in otdet to justify his emtcance into
the case on behalf of a co-defendant, then Gotence breached his duty of confidentiality
attd loyalty to Jarvis. Damron » Herzog, 67 F. 3d at 214, Resteterwent Third § 152.

27. None of the permissive exceptions of Rule 1.6 would allow fot Gorence to
voluntarily disclosure of any of the information telated to the representation of Mr. Jarvis
to the prosecutors in order to justify his desire to tepresent Wilson, Under some
circumstances, a lawyer embrotled in a claim with a client or one who is facing disciplinary
action or a cciminal charge based on his ot het representetion has the right to defend
himself or herself, including the limited right to disclose confidential communications to

do so, Rule 1.6(3). Bur the right to respond does not arise until a claim of complicity or

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muscondnct by the lawyer has actually been made. Rule 1.6 cmt. [8]. Moreover, a claim by
Jarvis of a professional relationship with Gorence is not the type of accusation envisioned
by the self defense provision of Rule 1.6. Rather, the self-defense exception only applies
when a lawyer is directly implicated in a completed or well-advanced wrong thatis actually
the fault of the client. Law af Lawyering § 9.22. Simply put, the self-defense exception is
entitely inappropriate in the context of this case.

28.  Atithis point, Gorence’s motion requesting an evidentiary hearing comes too late.
He has already breached the duties of loyalty and confidentiality owed to Jarvis. In fact his
unsealed motion filed on October 26, 2007 further reflect his failure to appreciate and to
respect his fiduciary duty to Jatvis, his failure to jealously safeguard Jarvis’ confidentiality,
and his disloyalty to a former client. See fn the Matter of Silverberg, 108 N.M. 768, 779 P.2d
54 (N.M. 1989} (client’s former attorney flee an affidavit in client’s civil case accusing
client of perjury; court held that conduct “demonstrated contempt for some of the most
important and fundamental concepts embodied in the legal profession” and “displayed a
... disloyalty that cannot be tolerated”), His clatm in that motion that a definitive niling
would benefit both Wilson and Jarvis is spurious and highlights the conflict created by his
conduct and that of the prosecutors. Just as it would be ethically improper for Gorence
to voluntarily reveal information protected by Rule 1.6 to the prosecutors, it would be
improper for them to solicit auch infoumation from Gorenece. See Annotated Rules at 439

(“a lawyer roust not elicit confidential or privileged information from others.”), If

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Goretite initiated a conversation with a ptosecutor about his professional relationship -
with Jarvis, the prosecutor should have warned him about the impropriety of such a
conversation and sought 4 judicial ruling on the ptoprtiety of Gorence’s assuming
representation of Wilson. Contrary to Gomez's position in this letter of Nov. 1, 2007,
prosecutors have « duty as ministers of justice beyond that of the normal advocate. Like
the prosecutors in Rae/and in State » Wong, 40 P. 3d 914 (Hawaii 2002), the prosecution in
this case should pot have sought to exploit ethical lapses on the patt of defense counsel ta
the detriment of a defendant. By knowingly receiving confidential information from a
defense lawyer about a former client, the prosecution pained access to information that
they had no legitimate right to receive. See dn re Shed Of Refinery, 143 F.R.D. 105 (ED.
La.)}, amended and reconsidered on other grounds, 144 T.RD. 73 (B.D. La. 1992), Additionally,
the prosecutors failed to faithfully catty out their responsibility to assist the court m
ensuring conflict fres representation.

29. Should the court in this ease wish to take testimony from Gerence regarding his
discussions with Jarvis or about his professional relationship with Jarvis, it should only do
so in at ex parte proceeding. Such a procedure minimizes the disclosure of confidential
communications. Certainly Jarvie and his current counsel should be permitted to
participate at such a heating in order to pratect Jarvis’ interests atid his confidentiality. A
lawyer can, of course, be compelled to reveal clent communications otherwise protected

by Rule 1.6 if the coutt determines that those communications are tot covered by the

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attorney-client privilege. Having the prosecutor present when the court makes those
determinations, however, threatens to farther impinge upon the Jarvis’ ripht of
confidentiality. Jarvis has a continuing interest in his confidentiality despite Gorence’s
failure to protect theit communications. Moreover, when ordered by 2 court to reveal
information advetse to a chent, a lawyer is requited to limit the disclosures as much as
possible. Rule 1.6 enat [12]; Arizona Ethics Op 2000-11 (2000). RI Ethics Op 2000-8
(2000). Unquestionably, Jarvis no longer trusts Gorence to carry out his profession
responsibilities. Given that Gorence’s prior voluntarily disclosures appear wholly
inconsistent with his professional responsibilities, counsel's presence is critical to assure
that Jarvis’ interests are not further undermined by disloyal counsel,

30, In sum, Gorence breached his duty of loyalty to Jarvis by taking on the
reptescnitation of another co-defendant in the same case without securing Jarvis’ consent.
He further violated that duty as well as his duty of confidentiality by commmnicating with
the prosecution about his relationship of Jarvis and agreeing to voluntarily testify to a
position advetse to that of his former chent. Contrary to bis duty to act “with complete
fairness, honor, honesty, loyalty, and fideltty m all his dealing with his client,” Damroy ¢
Foerzog, 67 F.3d at 214, Gorence erroneously placed his duty eo his current client Wilson
ahead of the intetests of his former cHent Jatvis thereby breaching the duties he owed
Jarvis. In addition, given that the prosecutors have failed in their responsibility to assist

the’ court in ensuring that all defendants are represented by counsel tburdened by

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conflicting interests and that they have knowingly sought to exploit Grorence’s ethical
lapece for theix benefit, this court ought not permit Gorence to be calied to testify against
hig former client in this matter. In light of the prosecutot’s complicity in Gorence’s ethical
violations, the government should not be allowed to profit from his testimony. Perhaps
even mote significantly, any testimony Gorence offers cannot undo the harm he has
already done by accepting the representation of a co-defendant whose case he wes
ethically required to decline to take on absent Jarvis’ consent. As the Tambourine court
recoonized when it queted with approval from the Undted States». Cusp, 934 F. Supp. 394,
398 (M.D. Fla 1996):

[Counsel] states in his affidavit, however, that duc to the
limited nature of his tepresentation of [the former client], he
learned no information dutineg the course of that
representation which he could now use against {him].... Tus
atrgumentignores the fact that ander the ethical cannons
a duty of loyalty exists apart and distinct from the duty to
snainiain client confidences. Compate Model Rules, Rule
1.6with Rules 1.7 & 1.9. One need only compate Model Rule
1.6, which outlines the lawyer's duty of confidentiality, with
Model Rule 1.92}, which imposes 2 blanket prohibition on
the representation of clients with interests adverse to those of
a former client withwat the former client’s consent. The
prohibition set forth in Rule 19 applies without regard to
whether the prior representation entailed the disclogure
of confidential communications. The cule thereby furthets
two purposes situltaneously; it promotes the atrorney’s duty
of loyaliy to his clienta while furthering the objectives of rules
protecting confidential communications between attorney and
client by obviating the need for intrusive judicial fact-finding
that would require the disclosure of such communications.
The policies underlying this rule are equally relevant here ..,

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Tambourine Commerce International SA. ». Sedowsey, 2007 U.S. Dist. Lexis 14905 at *30-31

(quoting Ca, alterations by Tzerbeurine court), There is stnply no need for any intrusive

judicial fact finding here. Fot as in Tassbosrine, Gorence’s brief representation of Jarvis

prevented him from ethically taleing on Wilson as a client in the same case and now

prevent him from representing atiyone in this matter.

FURTHER AFPLANT SAYETH NAUGHT.

this 6°" day of November, 2007,

Mek yl

Sworn to and subscribed before me this é day of November, 2007,

Notary Public
My commission expites:
Ri, MARILYN, HENOERSGH

P : j MY COMRASON OM aga7ge
eS: Amster 0, 2008

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